AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT                                                                          Apr 09, 2021

                                                                     for the                                                          s/ DarylOlszewski
                                                   Eastern DistrictDistrict
                                                    __________      of Wisconsin
                                                                            of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.                  0-            
 Information between July 1, 2020 and present date                           )
associated with the following Instagram pages listed in                      )
                                                                             )
                     Attachment A
    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A

located in the              Eastern               District of                 Wisconsin                   , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               Y evidence of a crime;
               u
               [ contraband, fruits of crime, or other items illegally possessed;
               u
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. § 922(g)(1) and18               felon in possession of a firearm and conspiracy to possess unregistered
        U.S.C §§ 371 and 922(o)                   machineguns and possession of an unregistered machinegun

          The application is based on these facts:
        See attached affidavit


           u Continued on the attached sheet.
           u Delayed notice of        days (give exact ending date if more than 30 days:                                             ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                              RICHARD CONNORS Digitally signed by RICHARD CONNORS
                                                                                              Date: 2021.04.09 09:02:07 -05'00'
                                                                                                         Applicant’s signature

                                                                                                       ATF SA Ricky Connors
                                                                                                         Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                   telephone/email                    (specify reliable
                                                                     le electronicc m eans).
                                                                                    means)


Date:       $SULO
                                                                                                           Judge’s
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                                                                                                                     signature
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City and state: Milwaukee, WI.                                                                    Honorable
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                                                                                                            Willi  E.
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                      Case 2:21-mj-00084-WED Filed 04/09/21 Page 1 ofPrinted
                                                                      30 name   and title
                                                                             Document     1
                           AFFIDAVIT IN SUPPORT OF
                    AN APPLICATION FOR A SEARCH WARRANT

       I, RICHARD CONNORS, being first duly sworn, hereby depose and state as

follows:

                   INTRODUCTION AND AGENT BACKGROUND

      1.       I make this affidavit in support of an application for a search warrant for

information associated with certain Instagram accounts that are stored at premises

owned, maintained, controlled, or operated by Facebook Inc. (“Facebook”), a social

networking company headquartered in Menlo Park, California. The information to be

searched is described in the following paragraphs and in Attachment A. This affidavit

is made in support of an application for a search warrant under 18 U.S.C. §§ 2703(a),

2703(b)(1)(A) and 2703(c)(1)(A) to require Instagram to disclose to the government

records and other information in its possession, pertaining to the subscriber or customer

associated with the user ID.

      2.       I am employed as a Special Agent with the United States Department of

Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) assigned to the

Milwaukee Field Office since October of 2015. I have been employed as a full time law

enforcement officer for approximately five years. I have received training at the Federal

Law Enforcement Training Center in Glynco, GA. I attended the Criminal Investigator

Training Program, as well as ATF’s Special Agent Training Program. I have received

training in the investigation of unlawful possession of firearms, the unlawful transfer of

firearms, and the unlawful dealing in firearms without a dealers’ license. Prior to

becoming a Special Agent with the ATF, I received two (2) bachelor’s degrees from

Northern Illinois University in the fields of Sociology and International Relations. I have



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received a master’s degree from Northern Illinois University in the field of American

Government.

      3.       I have received training in the investigation of firearm and drug

trafficking. Based on my training, experience, and participation in firearm trafficking

investigations, I know and/or have observed the following:

               a.   I have utilized informants to investigate firearm and drug

trafficking. Through informant interviews and debriefings of individuals involved in

those offenses, I have learned about the manner in which individuals and organizations

distribute these items in Wisconsin and elsewhere;

               b.   I have also relied on informants to obtain firearms (as opposed to

licensed gun dealers) and controlled substances from individuals on the streets, known

as a controlled purchase;

               c.   I have experience conducting street surveillance of individuals

engaged in firearm and drug trafficking.     I have participated in the execution of

numerous search warrants where drugs, firearms, ammunition, and magazines have

been seized;

               d.   I am familiar with the language utilized over the telephone to

discuss firearm and drug trafficking, and know that the language is often limited,

guarded, and coded;

               e.   I know that firearm and drug traffickers often use electronic

equipment to conduct these operations; and

               f.   I know that firearm and drug traffickers often use proceeds to

purchase assets such as vehicles, property, jewelry, and narcotics. I also know that




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firearm and drug traffickers often use nominees to purchase and/or title these assets to

avoid scrutiny from law enforcement officials I also know what firearm and drug

traffickers may keep photographs of these items on electronic devices.

       4.     I have participated in multiple firearm and drug trafficking investigations

that involved the seizure of computers, cellular phones, cameras, and other digital

storage devices, and the subsequent analysis of electronic data stored within these

computers, cellular phones, cameras, and other digital storage devices.            In many

occasions, this electronic data has provided evidence of the crimes being investigated

and corroborated information already known or suspected by law enforcement.

       5.     The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other investigators and

witnesses. This affidavit is intended to show merely that there is sufficient probable

cause for the requested warrant and does not set forth all of my knowledge about this

matter.

       6.     Throughout this affidavit, reference will be made to case agents. Case

agents are those federal, state, and local law enforcement officers who have directly

participated in this investigation, and with whom your affiant has had regular contact

regarding this investigation.

       7.     Based on my training and experience and the facts as set forth in this

affidavit, there is probable cause to believe that violations of 18 U.S.C. § 922(g)(1) (felon

in possession of a firearm); 18 U.S.C. § 922(o) (unlawful possession of a machinegun):

and 18 U.S.C. § 371 (conspiracy) have been committed by Larry G. HAMILTON (dob

7/22/1991), Teshae HANNA (dob: 09/23/1999), and Quishawn HANNA (dob:




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10/10/2000), among others, and that there is also probable cause to search the “Target

Accounts” described below and described in Attachment A, for evidence of these

crimes and contraband or fruits of these crimes, as described in Attachment B.

                     TARGET ACCOUNTS TO BE SEARCHED

   x   Instagram account under the name “bigboomsologang”, Instagram ID #

       32787502970, https://www.instagram.com/bigboomsologang/

   x   Instagram account under the name “_teshae”, Instagram ID # 25863395891;

       https://www.instagram.com/_teshae/

   x   Instagram account under the name “shawn_broke2rich”; Instagram ID#

       7068849355; https://www.instagram.com/shawn_broke2rich/

                                 PROBABLE CAUSE

       8.    Since February of 2021, case agents with the Bureau of Alcohol, Tobacco,

Firearms and Explosives (ATF) in coordination with the Milwaukee Police Department

(MPD) and the Federal Bureau of Investigation (FBI), have been investigating identified

members of the violent street gang, Wild 100s, aka, Shark Gang, including Larry G.

HAMILTON, Teshae HANNA, and Quishawn HANNA for federal firearms offenses.

       9.    Based upon review of MPD reports, information provided by confidential

sources, and review of publicly available social media posts, beginning in

approximately July of 2020, members of the Wild 100s, aka Shark Gang, became

involved in an ongoing feud with members of the Ghetto Boys Clique (GBC), aka

Swindle Gang. Since that time, multiple homicides, shootings, and instances of illegal

possession and transfer of firearms, including the possession of fully automatic




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firearms, that is, machineguns, have occurred and are suspected to be associated with

the ongoing gang feud.

      10.    On January 26, 2019, a shooting occurred in the area of 2461 N. 33 rd Street

in Milwaukee, WI.     The shooting resulted in the homicide of Lawrence “Lowski”

Hamilton, a known Wild 100s member, and Larry G. HAMILTON , (DOB 7/22/1991),

(Lawrence Hamilton’s brother) sustained multiple gunshot wounds. Sometime after

the funeral, the grave of Lawrence Hamilton was desecrated by members of the GBC or

Swindle Gang. Your affiant knows that the grave and memorial desecration is a

common way to disrespect a rival gang member and the gang itself. In a later shooting

incident, Wild 100s gang member, Ramon Savage confirmed to interviewing MPD

officers that the desecration of Lawrence Hamilton’s grave and memorial is what

started the violent feud between the Wild 100s and GBC gangs.

      11.    Additionally, on July 23, 2020, MPD responded to numerous shots fired in

the rear playground area of Maple Tree Elementary School located at 6644 N. 107th

Street, Milwaukee, Wisconsin. MPD recovered 123 casings on scene in a variety of

calibers. Wild 100s member, Quishawn M. HANNA was interviewed on scene by MPD

officers. Quishawn HANNA advised MPD officers that people were there to celebrate

the one (1) year anniversary of a friend’s death, Lawrence Hamilton, and people started

shooting. Wild 100s members are suspects in this shooting incident.

      12.    On September 30, 2020, MPD officers responded to a shooting at the

funeral for GBC gang member, Braxton Taylor.          Seven victims suffered nonfatal

gunshot wounds. Witnesses advised that members of the Wild 100s were making social

media posts around the time of the funeral that suggested they may be involved in the




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shooting. Later that day there were two other shootings, one at the Taylor memorial

near 21 st Street and Center Street, in which an unintended target suffered a gunshot

wound to her head, and the other in which Wild 100s members, Quiman E. Townsend

(DOB: 03/13/1991) and Ramon Savage (DOB: 06/13/1995) suffered nonfatal gunshot

wounds.     Wild 100s members are suspects in the funeral home shooting and GBC

members are suspects in the shooting at the Taylor memorial and shootings that

wounded Townsend and Savage. Since July of 2020, case agents have identified at least

20 separate incidents of firearms violence and illegal firearms possession linked to the

ongoing war between Wild 100s and GBC gangs.

      13.     On March 14, 2021, your affiant received a screenshot of the Instagram

page “_teshae”; Instagram ID 25863395891; URL https://www.instagram.com/_teshae

from case agents. Case agents took the screenshot from the publicly viewable portion of

the page “_teshae” on that day from the pages Instagram “story.” An Instagram story

is a short clip a user can post to their page that is then removed after a given amount of

time. The Instagram page has a URL of https://www.instagram.com/_teshae/. This

page appears to be the page for Teshae K. HANNA (DOB: 09/23/1999). Case agents

compared the photos from the publicly viewable page for _teshae to a Milwaukee Police

Department (MPD) booking photo of Teshae HANNA, and the two appear consistent.

      14.     The screenshot taken on March 14, 2021 from the _teshae Instagram page

depicted eight (8) firearms laying on a wood floor. Three (3) of the firearms appear to be

Glock handguns with auto sears affixed to the back plate of the handgun. These auto

sears have the ability to allow the handgun to fire multiple rounds of ammunition with




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a single pull of the trigger making the firearm fully automatic, that is, a machinegun. A

photograph of the screenshot is set forth below.




      15.    On March 15, 2021, MPD officers on routine patrol observed HANNA run

from a stopped vehicle (a Black Toyota RAV4) with a black firearm in his hand.

HANNA was observed running toward the McDonalds located at 7112 N. 76 th St,

Milwaukee, WI and when he returned to the vehicle, he did not appear to have a

firearm. MPD officers then located Raymond J. Colon (dob: 05/17/2000) dead in the



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front seat of the black Toyota RAV4. During an interview with MPD officers, HANNA

stated that the two (HANNA and Colon) were shot at from a vehicle that had been

following them. HANNA was injured in this shooting but survived his injuries.       The

MPD officers reviewed surveillance video from the McDonalds, which showed Teshae

HANNA discard the firearm in a trashcan outside of the McDonalds. MPD officers

recovered the firearm from the trashcan and determined that it was a Glock handgun

with an affixed auto sear, which converts the firearm to a fully automatic machine gun.

      16.    On March 18, 2021, case agents obtained a photograph of the Glock

handgun with affixed auto sear that was recovered from the McDonalds trashcan on

March 15, 2021. The Glock handgun with the affixed auto sear, which was recovered on

March 15, 2021 from the McDonalds trashcan, appears consistent with the Glock

handguns with auto sears posted to the Instagram account “_teshae” on March 14, 2021.

Set forth below is a photograph of the Glock handgun with affixed auto sear recovered

on March 15, 2021 .




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             17.    On March 16, 2021, case agents examined and test fired the Glock

handgun with auto sear affixed to the rear back plate of the firearm pictured abov e and

preliminarily determined that it is a weapon that shoots automatically, more than one

shot, without manually reloading, by a single function of a trigger; therefore, it is a

“machinegun” as defined in Title 18, United States Code, Section 921(a)(23) and Title 26,

United States Code, Section 5845(b).

             18.    On April 6, 2021, your affiant observed the Instagram profile

“_teshae” was going “live.”      A “live” video displays the user in real time and

individuals can join the conversation and comment or join the “live” video and also

appear in real-time. This video was observed publicly, and your affiant was able to



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view it by just having a Instagram profile. The other account which joined “_teshae”

was the Instagram account “shawn_broke2rich”; Instagram ID# 7068849355;

https://www.instagram.com/shawn_broke2rich/.           Your    affiant   is   aware   the

“shawn_broke2rich” profile is used by Quishawn HANNA. Additionally, case agents

compared the photos from the publicly viewable page for “shawn_broke2rich” to a

Milwaukee Police Department (MPD) booking photo of Quishawn HANNA, and the

two appear consistent.

      19.    Your affiant began observing the video on April 6, 2021 at approximately

1:56 p.m. Immediately in the video Teshae HANNA and Quishawn HANNA are

observed as both individuals talking back and forth. Quishawn HANNA can be heard

stating “I aint gonna show the switches on the live though I aint gone lie.” Based upon

training, experience, and the investigation to date, case agents are aware that the term

“switch” refers to a Glock auto sear. These devices in themselves are classified as NFA

firearms subject to federal NFA regulations. The Glock auto sear converts a legally

owned handgun into an automatic weapon capable of firing multiple rounds of

ammunition with a single pull of the trigger, that is, a machinegun.

      20.    Quishawn HANNA proceeds to display what appears to be multiple

firearms throughout the video to include one handgun and one AR-15 style rifle with a

drum magazine capable of holding over fifty rounds of ammunition. Additionally,

Teshae HANNA displays two (2) apparent handguns and points it directly at the

camera on numerous occasions. Approximately 1:01 into the video, Teshae HANNA

states “niggas shot me in my head and killed my nigga Ray that shit was just too funny

my nigga now the whole 40 th grieving all because lil Keyon wanna talk shit bitch”. Your




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affiant suspects Teshae HANNA is referring to the homicide and shooting that occurred

on March 15, 2021.

      21.    At approximately 3:00 into the video, Teshae HANNA states “you see this

weak ass gun before Quishawn Sig Sauer,” Teshae HANNA proceeds to display an

apparent Sig Sauer handgun on camera. Quishawn HANNA states “that motherfucker

weak we only do Glizzy’s only”. Your affiant know the street term “Glizzy” can refer to

a Glock firearm. Teshae HANNA proceeds to display an apparent Springfield XD

handgun and states “what about this you don’t fuck with the XD,” Quishawn HAN N A

replies “I’m the one that gave you that”. At approximately 3:50 into the video,

Quishawn HANNA displays an apparent Glock handgun with his hand covering the

backplate of the firearm, this is the part of the firearm where individuals affix the auto

sears to in order to convert the handgun to a fully automatic weapon. Quishawn

HANNA states “I aint I aint gone show that,” Teshae HANNA replies “yea yea get that

off the camera.” Quishawn HANNA states “you show the back man motherfucker

prolly go federal,” and Teshae HANNA replies “yeah the feds be knocking on yo door

lil bro.” Below is a screenshot of Quishawn HANNA holding the Glock handgun with

his hand covering where an auto sear would be affixed to the gun.




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      22.    Based upon Teshae HANNA and Quishawn HANNA’s comments

regarding not showing the portion of the firearm where an auto sear would be affixed

and the comments regarding “going federal” indicates that Teshae HANNA and

Quishawn HANNA are aware that possession of fully automatic firearms are illegal.

Case agents have also recovered fully automatic Glock handguns from other “Wild 100”

members in the past.

      23.    At approximately 5:18 into the video, Teshae HANNA states “now im

doing the same thing to them nigga go have that funeral lil bitch fuck you talking about

fuck you mean nigga now nobody play with motherfuckin Teshae nigga or team Wild

hunnits nigga we really where it’s at we got money grave diggers we got a lot of more


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money than the other niggas and we grave diggers and we get down that’s the thing

about our hood nigga we aint to be played with nigga”.

      24.    In March of 2021, case agents located a Instagram account under the name

“bigboomsologang”,Instagram                         ID                  32787502970,

https://www.instagram.com/bigboomsologang/. Case agents obtained and compared

a Milwaukee County Jail booking photo of Larry G. HAMILTON (dob 7/22/1991) to

the photos on the publicly viewable portion of the aforementioned Instagram page.

Case agents believe based upon review of the photographs, including “selfies,” of the

person utilizing the “bigboomsologang” Instagram page and HAMILTON’s booking

photo that HAMILTON, an identified member of Wild 100s, is the user of the

“bigboomsologang” Instagram page.

      25.    Case agents reviewed the criminal history of HAMILTON. HAMILTON

has a prior felony conviction for burglary in Milwaukee County Wisconsin court docket

number 2010-CF-005453, and a prior felony conviction for burglary in Milwaukee

County Wisconsin court docket number 2011-CF-002979. HAMILTON has also a prior

federal conviction for unlawful possession of a firearm.

      26.    Continuing on April 1, 2021, case agents reviewed the below post that was

posted to the publicly viewable portion of the page “bigboomsologang” dated August

3, 2020, which depicts HAMILTON holding an AR-Style pistol.




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      27.    On April 1, 2021, case agents also viewed the below post that was posted

to the publicly viewable portion of the page “bigboomsologang” dated September 8,

2020 HAMILTON holding an apparent AR-Style rifle with a similar sight as the photo

in paragraph 25.




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        28.   On April 1, 2021, case agents also reviewed the below post that was

posted to the publicly viewable portion of the page “bigboomsologang” dated

September 17, 2020, which depicts HAMILTON with an AR-15 style rifle slung from his

neck.




        29.   Based upon their training, experience, and the investigation to date, case

agents believe that based on the public images displayed above, there may be

additional evidence of federal violations of illegal firearm possession located within the

private portions of the three Instagram pages listed above. Case agents are aware based

upon their training and experience that individuals will utilize different means of

Instagram communication (Instagram messenger) and private Instagram messaging to

obtain, transfer, and discuss the use and possession of firearms, including converting

firearms from semi-automatic to fully automatic machineguns.



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      30.    Based upon their training and experience and the evidence set forth

above, case agents believe probable cause exists that the Instagram accounts “_teshae”

“shawn_broke2rich,” and “bigboomsologang,” contain evidence of violations of 18

U.S.C § 922(g)(1) (felon in possession of a firearm) and 18 U.SC. §§ 371 and 922(o)

(conspiracy to possess an unregistered machinegun and possession of an unregistered

machinegun). Information in these accounts may contain both evidence of these crimes

and may also contain evidence that will further the investigation by assisting agents in

identifying others involved in the illegal transfer and possession of firearms and the

illegal transfer and conversion of firearms into fully automatic firearms, that is,

machineguns.

                           TECHNICAL BACKGROUND

      31.    Case agents are aware that Instagram accounts store communications a nd

pictures that will assist case agents in making connections to people and places

involved in the suspected illegal possession of firearms. Facebook Inc. owns and

operates a free-access social networking website of the same name that can be accessed

at http://www.instagram.com. Instagram allows its users to establish accounts with

Instagram, and users can then use their accounts to share written news, photographs,

videos, and other information with other Instagram users, and sometimes with the

general public.

      32.    Instagram asks users to provide basic contact and personal identifying

information to Instagram, either during the registration process or thereafter. This

information may include the user’s full name, birth date, gender, contact e-mail

addresses, Instagram passwords, Instagram security questions and answers (for




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password retrieval), physical address (including city, state, and zip code), telephone

numbers, screen names, websites, and other personal identifiers. Instagram also assigns

a user identification number to each account.

       33.    Instagram users may join one or more groups or networks to connect and

interact with other users who are members of the same group or network. Instagram

assigns a group identification number to each group. A Instagram user can also connect

directly with individual Instagram users by sending each user a “Follow request.” If

the recipient of a “Follow Request” accepts the request, then the two users will become

“Follow” for purposes of Instagram and can exchange communications or view

information about each other. Each Instagram user’s account includes a list of that

user’s “Friends” and a “News Feed,” which highlights information about the user’s

“Friends,” such as profile changes, upcoming events, and birthdays.

       34.    Instagram users can        select   different   levels of   privacy for   the

communications and information associated with their Instagram accounts.                 By

adjusting these privacy settings, a Instagram user can make information available only

to himself or herself, to particular Instagram users, or to anyone with access to the

Internet, including people who are not Instagram users. A Instagram user can also

create “lists” of Instagram friends to facilitate the application of these privacy settings.

Instagram accounts also include other account settings that users can adjust to control,

for example, the types of notifications they receive from Instagram.

       35.    Instagram users can create profiles that include photographs, lists of

personal interests, and other information.        Instagram users can also post “status”

updates about their whereabouts and actions, as well as links to videos, photographs,




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articles, and other items available elsewhere on the Internet. Instagram users can also

post information about upcoming “events,” such as social occasions, by listing the

event’s time, location, host, and guest list. In addition, Instagram users can “check in”

to particular locations or add their geographic locations to their Instagram posts,

thereby revealing their geographic locations at particular dates and times. A particular

user’s profile page also includes a “Wall,” which is a space where the user and his or

her “Friends” can post messages, attachments, and links that will typically be visible to

anyone who can view the user’s profile.

       36.    Instagram allows users to upload photos and videos, which may include

any metadata such as location that the user transmitted when s/he uploaded the photo

or video. It also provides users the ability to “tag” (i.e., label) other Instagram users in a

photo or video.     When a user is tagged in a photo or video, he or she receives a

notification of the tag and a link to see the photo or video. For Instagram’s purposes,

the photos and videos associated with a user’s account will include all photos and

videos uploaded by that user that have not been deleted, as well as all photos and

videos uploaded by any user that have that user tagged in them.

       37.    Instagram users can exchange private messages on Instagram with other

users. These messages, which are similar to e-mail messages, are sent to the recipient’s

“Inbox” on Instagram, which also stores copies of messages sent by the recipient, as

well as other information. Instagram users can also post comments on the Instagram

profiles of other users or on their own profiles; such comments are typically associated

with a specific posting or item on the profile. In addition, Instagram has a Chat feature

that allows users to send and receive instant messages through Instagram. These chat




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communications are stored in the chat history for the account. Instagram also has a

Video Calling feature, and although Instagram does not record the calls themselves, it

does keep records of the date of each call.

       38.    If a Instagram user does not want to interact with another user on

Instagram, the first user can “block” the second user from seeing his or her account.

       39.    Instagram has a “like” feature that allows users to give positive feedback

or connect to particular pages. Instagram users can “like” Instagram posts or updates,

as well as webpages or content on third-party (i.e., non-Instagram) websites. Instagram

users can also become “fans” of particular Instagram pages.

       40.    Instagram has a search function that enables its users to search Instagram

for keywords, usernames, or pages, among other things.

       41.    Each Instagram account has an activity log, which is a list of the user’s

posts and other Instagram activities from the inception of the account to the present.

The activity log includes stories and photos that the user has been tagged in, as well as

connections made through the account, such as “liking” a Instagram page or adding

someone as a friend. The activity log is visible to the user but cannot be viewed by

people who visit the user’s Instagram page.

       42.    Instagram Notes is a blogging feature available to Instagram users, and it

enables users to write and post notes or personal web logs (“blogs”), or to import their

blogs from other services, such as Xanga, LiveJournal, and Blogger.

       43.    The Instagram Gifts feature allows users to send virtual “gifts” to their

friends that appear as icons on the recipient’s profile page.         Gifts cost money to

purchase, and a personalized message can be attached to each gift. Instagram users ca n




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also send each other “pokes,” which are free and simply result in a notification to the

recipient that he or she has been “poked” by the sender.

        44.    Instagram also has a Marketplace feature, which allows users to post free

classified ads. Users can post items for sale, housing, jobs, and other items on the

Marketplace.

        45.    In addition to the applications described above, Instagram also provides

its users with access to thousands of other applications (“apps”) on the Instagram

platform. When a Instagram user accesses or uses one of these applications, an update

about that the user’s access or use of that application may appear on the user’s profile

page.

        46.    Some Instagram pages are affiliated with groups of users, rather than one

individual user.      Membership in the group is monitored and regulated by the

administrator or head of the group, who can invite new members and reject or accept

requests by users to enter. Instagram can identify all users who are currently registered

to a particular group and can identify the administrator and/or creator of the group.

Instagram uses the term “Group Contact Info” to describe the contact information for

the group’s creator and/or administrator, as well as a PDF of the current status of the

group profile page.

        47.    Instagram uses the term “Neoprint” to describe an expanded view of a

given user profile.     The “Neoprint” for a given user can include the following

information from the user’s profile:        profile contact information; News Feed

information; status updates; links to videos, photographs, articles, and other items;

Notes; Wall postings; friend lists, including the friends’ Instagram user identification




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numbers; groups and networks of which the user is a member, including the groups’

Instagram group identification numbers; future and past event postings; rejected

“Friend” requests; comments; gifts; pokes; tags; and information about the user’s access

and use of Instagram applications.

          48.   Instagram also retains Internet Protocol (“IP”) logs for a given user ID or

IP address. These logs may contain information about the actions taken by the user ID

or IP address on Instagram, including information about the type of action, the date and

time of the action, and the user ID and IP address associated with the action. For

example, if a user views a Instagram profile, that user’s IP log would reflect the fact that

the user viewed the profile, and would show when and from what IP address the user

did so.

          49.   Social networking providers like Instagram typically retain additional

information about their users’ accounts, such as information about the length of service

(including start date), the types of service utilized, and the means and source of any

payments associated with the service (including any credit card or bank account

number). In some cases, Instagram users may communicate directly with Instagram

about issues relating to their accounts, such as technical problems, billing inquiries, or

complaints from other users.       Social networking providers like Instagram typically

retain records about such communications, including records of contacts between the

user and the provider’s support services, as well as records of any actions taken by the

provider or user as a result of the communications.

          50.   As explained herein, information stored in connection with a Instagram

account may provide crucial evidence of the “who, what, why, when, where, and how”




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of the criminal conduct under investigation, thus enabling the United States to establish

and prove each element or alternatively, to exclude the innocent from further suspicion.

In my training and experience, a Instagram user’s “Neoprint,” IP log, stored electronic

communications, and other data retained by Instagram, can indicate who has used or

controlled the Instagram account. This “user attribution” evidence is analogous to the

search for “indicia of occupancy” while executing a search warrant at a residence. For

example, profile contact information, private messaging logs, status updates, and

tagged photos (and the data associated with the foregoing, such as date and time) may

be evidence of who used or controlled the Instagram account at a relevant time.

Further, Instagram account activity can show how and when the account was accessed

or used. For example, as described herein, Instagram logs the Internet Protocol (IP)

addresses from which users access their accounts along with the time and date. By

determining the physical location associated with the logged IP addresses, investigators

can understand the chronological and geographic context of the account access a nd use

relating to the crime under investigation. Such information allows investigators to

understand the geographic and chronological context of Instagram access, use, and

events relating to the crime under investigation. Additionally, Instagram builds geo-

location into some of its services. Geo-location allows, for example, users to “tag” their

location in posts and Instagram “friends” to locate each other. This geographic and

timeline information may tend to either inculpate or exculpate the Instagram account

owner.     Last, Instagram account activity may provide relevant insight into the

Instagram account owner’s state of mind as it relates to the offense under investigation.

For example, information on the Instagram account may indicate the owner’s motive




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and intent to commit a crime (e.g., information indicating a plan to commit a crime), or

consciousness of guilt (e.g., deleting account information in an effort to conceal

evidence from law enforcement).

       51.    Therefore, the computers of Instagram are likely to contain all the materia l

described above, including stored electronic communications and information

concerning subscribers and their use of Instagram, such as account access information,

transaction information, and other account information.

        INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       52.    I anticipate executing this warrant under the Electronic Communications

Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using

the warrant to require Instagram to disclose to the government copies of the records

and other information (including the content of communications) particularly described

in Section I of Attachment B. Upon receipt of the information described in Section I of

Attachment B, government-authorized persons will review that information to locate

the items described in Section II of Attachment B.


                                     CONCLUSION

       53.    Based on my training, experience and consultation with other agents

familiar with electronic crimes investigations, and the facts as set forth in this affidavit,

there is probable cause to believe that on the computer systems in the control of

Instagram there exists evidence of a crime.

       54.    This Court has jurisdiction to issue the requested warrant because it is “a

court of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),




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(b)(1)(A) & (c)(1)(A). Specifically, the Court is “a district court of the United States . . .

that – has jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

       55.    Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer

is not required for the service or execution of this warrant.




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                                 ATTACHMENT A

                              Property to Be Searched

       This warrant applies to information between July 1, 2020 and present date

associated with the following Instagram pages:

   x   Instagram account under the name “bigboomsologang”, Instagram ID #

       32787502970, https://www.instagram.com/bigboomsologang/

   x   Instagram account under the name “_teshae”, Instagram ID # 25863395891;

       https://www.instagram.com/_teshae/

   x   Instagram account under the name “shawn_broke2rich”; Instagram ID#

       7068849355; https://www.instagram.com/shawn_broke2rich/



       That are stored at premises owned, maintained, controlled, or operated by

Facebook, a social networking company headquartered in Menlo Park, California.




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                                   ATTACHMENT B

                             Particular Things to be Seized

Information to be disclosed by Instagram/Facebook Inc.

      1.      To the extent that the information described in Attachment A is within the

possession, custody, or control of Instagram or Facebook Inc., including any messages,

records, files, logs, or information that have been deleted but are still available to

Instagram, or have been preserved pursuant to a request made under 18 U.S.C. §

2703(f), Instagram is required to disclose the following information to the government

for each user ID listed in Attachment A:

           a. All contact and personal identifying information, including: full name,

              user identification number, birth date, gender, contact e-mail addresses,

              Instagram passwords, Instagram security questions and answers, physical

              address (including city, state, and zip code), telephone numbers, screen

              names, websites, and other personal identifiers.

           b. All activity logs for the account and all other documents showing the

              user’s posts and other Instagram activities;

           c. All photos uploaded by that user ID and all photos uploaded by any user

              that have that user tagged in them;

           d. All profile information; News Feed information; status updates; links to

              videos, photographs, articles, and other items; Notes; Wall postings;

              friend lists, including the friends’ Instagram user identification numbers;

              groups and networks of which the user is a member, including the

              groups’ Instagram group identification numbers; future and past event




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     postings; rejected “Friend” “Follow” requests; comments; gifts; pokes;

     tags; and information about the user’s access and use of Instagram

     applications;

  e. All other records of communications and messages made or received by

     the user, including all private messages, chat history, video calling history,

     and pending “Friend” requests;

  f. All “check ins” and other location information;

  g. All IP logs, including all records of the IP addresses that logged into the

     account;

  h. All records of the account’s usage of the “Like” feature, including all

     Instagram posts and all non-Instagram webpages and content that the

     user has “liked”;

  i. All information about the Instagram pages that the account is or was a

     “fan” of;

  j. All past and present lists of friends created by the account;

  k. All records of Instagram searches performed by the account;

  l. All audio messages sent by the account and messages received by the

     account;

  m. All video messages sent by the account and to the account;

  n. Any and all location data, including location history, login activity,

     information geotags, and related metadata, that is recorded by Instagram

     related to the account

  o. All information about the user’s access and use of Instagram Marketplace;




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            p. The types of service utilized by the user;

            q. The length of service (including start date) and the means and source of

               any payments associated with the service (including any credit card or

               bank account number);

            r. All privacy settings and other account settings, including privacy settings

               for individual Instagram posts and activities, and all records showing

               which Instagram users have been blocked by the account;

            s. All records pertaining to communications between Instagram and any

               person regarding the user or the user’s Instagram account, including

               contacts with support services and records of actions taken.

Information to be seized by the government

       1.      All information described above that constitutes fruits, evidence and

instrumentalities of violations of 18 U.S.C § 922(g)(1) (felon in possession of a firearm),

and 18 U.S.C §§ 371 and 922(o) (conspiracy to possess unregistered machineguns and

possession of an unregistered machinegun).

            a. The relevant offense conduct, any preparatory steps taken in furtherance

               of the scheme, communications between the suspect and others related to

               the relevant offense conduct in the above-listed crimes;

            b. Evidence indicating how and when the Instagram account was accessed

               or used, to determine the chronological and geographic context of account

               access, use, and events relating to the crime under investigation and to the

               Instagram account owner;




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  c. Evidence indicating the Instagram account owner’s state of mind as it

     relates to the crime under investigation;

  d. The identity of the person(s) who created or used the user ID, including

     records that help reveal the whereabouts of such person(s).

  e. The identity of the person(s) who communicated with the user ID about

     matters relating to relevant offense conduct of the above-listed crimes,

     including records that help reveal their whereabouts.




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